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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/6/2020


MARTIN GORE,

                                            Plaintiff,                 20-CV-3771 (PAE)(SN)

                          -against-                                            ORDER

PEAK SYSTEMS, INC.,

                                             Defendant.
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SARAH NETBURN, United States Magistrate Judge:

     In light of the parties’ November 6, 2020 status letter, the parties are hereby ORDERED to

file a status letter by December 7, 2020, which shall address the status of settlement discussions.

SO ORDERED.




DATED:           November 6, 2020
                 New York, New York
